                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION


UNITED STATES OF AMERICA                                     )      DOCKET NO. 1:00CR9
                                                             )
               vs.                                           )      ORDER TO DESTROY
                                                             )          EVIDENCE
25)BERLINIA WILKERSON CALDWELL PEARSON                       )



       THIS MATTER is before the Court upon the Government's motion for destruction of

evidence in the above-captioned case.

       For the reasons stated in the Government's motion and for good cause shown, the Court

finds that the firearm, specifically a .22 caliber Hi-Standard pistol, S/N 730537, which is now in

the possession of the Drug Enforcement Administration, should be destroyed in accordance with

the usual procedure for the destruction of such evidence.

       IT IS, THEREFORE, ORDERED that the Government's motion to destroy evidence is

hereby GRANTED.



                                                 Signed: June 12, 2006




    Case 1:00-cr-00009-MR-DLH            Document 630        Filed 06/13/06      Page 1 of 1
